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   REPORT OF INDEPENDENT INVESTIGATION INTO

      ALLEGED MISCONDUCT OF DAVID FINN, ESQ.




                             JUNE 14, 2022




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I.       EXECUTIVE SUMMARY

     On March 24, 2022, Chief Judge Barbara Lynn of the Northern District of Texas convened a

three judge panel chaired by District Judge David Godbey, and comprised of District Judges Sam

Lindsay, and Mark Pittman, “to review various incidents involving the conduct of attorney David

Finn.” On April 13, 2022, Judge Godbey issued an Order directing undersigned to investigate the

conduct of Mr. David Finn (“Mr. Finn”). The investigative goals are to determine whether

disciplinary action is warranted against Mr. Finn on all or some of the following: (1) conduct

unbecoming a member of the bar; (2) failure to comply with a rule or order of the Court; (3) unethical

behavior; and (4) inability to conduct litigation properly. See Local Criminal Rules, N.D. of Texas,

LCrR 57.8(b).

     Counsel began his investigation by interviewing, either in person or telephonically, four (4) U.S.

District Court Judges (Brown, Scholer, Kinkeade, and Fitzwater) plus Chief Judge Barbara Lynn.

Counsel also interviewed three (3) U.S. Magistrate Judges (Tolliver, Ramirez and Horan).

Furthermore, counsel interviewed Assistant United State Attorney, Nicole Dana. In addition, counsel

also reviewed transcripts of proceedings held before Chief Judge Lynn and Magistrate Judge

Tolliver. Counsel also reviewed a memo from Kate Marcom of Chief Judge Lynn’s office dated

March 10, 2022, detailing her phone conversation with Mr. Finn that morning.

     As part of this inquiry, counsel also interviewed two (2) Court Security Officers (“CSO”) Donald

Ray and Cynthia Dunn. Counsel also viewed two videos dated September 23rd and September 24th of

2021, which captured Mr. Finn’s conduct involving CSO’s Ray and Dunn. Counsel also reviewed

three (3) Court Facility Incident Reports provided by Deputy U.S. Marshall Ryan Thompson. Said

reports were authored by CSO’s Ray, Dunn and Jeff Potter, which summarized the two September

2021 incidents referenced above. In connection with same, there exists a videotape of Mr. Finn’s

interactions with the CSOs that counsel also reviewed.

     On April 25, 2022, counsel received and reviewed a Motion to Reconsider Order of Suspension of

David Finn’s Law License in the Northern District of Texas Federal Courts, together with its

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exhibits, as filed by Mr. Finn’s counsel, Brett Stalcup. Counsel subsequently received a Modified

Order of Supervision issued by Chief Judge Lynn on May 11, 2022.

    Counsel met and conferred with David Finn and Mr. Stalcup regarding these allegations and his

interactions with the above court officials. Mr. Finn admitted his misconduct and expressed remorse

for his actions. He also stated that the reasons behind his actions were as a result of his alcoholism, as

well as prior family abuse and trauma, for which he has sought, and continues to seek treatment.

    This investigation has revealed that David Finn, under the clear and convincing evidence

standard, has engaged in and committed misconduct as follows:

    Mr. Finn engaged in conduct unbecoming a member of the bar as a result of his actions and

statements made to Chief Judge Barbara Lynn, District Judge Ada Brown, and Magistrate Judge

Renee Harris Tolliver, coupled with his actions and statements involving CSO’s Ray and Dunn. In

addition, Mr. Finn failed to comply with a rule or order of the Court as a result of his failure to attend

two separately scheduled sentencing hearings held before Chief Judge Lynn. It is also evident that

Mr. Finn engaged in unethical behavior as a result of his disrespectful and demeaning comments

made to Chief Judge Lynn, District Judge Brown and Magistrate Judge Tolliver. Finally, the

culmination of his interactions with the various judges, as outlined above, make it readily apparent

that Mr. Finn exhibits the present inability to conduct litigation properly.




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       II.     BACKGROUND

       David Finn has been licensed as an attorney in the State of Texas since 1991. He is also licensed in

each of the U.S. District Courts in Texas, as well as the Fifth Circuit Court of Appeals. 1 As a result, Mr.

Finn has an active federal criminal defense practice in the Northern District of Texas.

       According to District Judges Sidney Fitzwater and Karen Scholer, on or about June 25, 2020, a three

Judge panel consisting of District Judges Jane Boyle, Sidney Fitzwater, and Karen Scholer convened an

informal inquiry into the conduct of Mr. Finn. This occurred approximately two weeks after Mr. Finn

appeared before Magistrate Judge Rene Harris Tolliver for a guilty plea hearing. During the hearing, as

the colloquy between the Court and the defendant developed, Mr. Finn began to interrupt the Court and,

after being admonished not to do so, made inappropriate and insulting comments directed at the Court.

       Judge Fitzwater stated that three District Judges subsequently met informally for approximately thirty

(30) minutes with Mr. Finn and his counsel at the time, Clint Broden, to discuss his conduct not only

before Magistrate Tolliver, but also other unidentified court officials. During this meeting, Mr. Finn

attempted to distinguish vigorous advocacy from his alleged conduct and admitted that he suffers from

alcohol abuse which contributed to his actions, and for which he was seeking treatment. Judge Fitzwater

also reported that Mr. Finn volunteered to apologize to Magistrate Judge Tolliver for his actions.

       However, on February 25, 2021, during an informal Zoom videoconference convened by District

Judge Ada Brown, Mr. Finn used a curse word in response to a question posed by Judge Brown. He also

accused her of being unqualified to act as a Judge. He later proceeded to tell a racially charged joke

during said conference.

       In late September 2021, Mr. Finn was involved in two separate interactions with CSO’s Cynthia

Dunn and Donald Ray with both occurring at the 13th Floor magnetometer screening area. On September

23, 2021, the security video clearly shows Mr. Finn inappropriately touching CSO Dunn. CSO Dunn,

according to her written report threatened to hit him with her radio unless he stopped. A report by CSO



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    State Bar of Texas, via its website: www.texasbar.com

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Jeff Potter corroborated Mr. Finn’s actions. On the following date, September 24, 2021, at the same

location, security video shows a verbal altercation between Finn and CSO Ray after Ray directs Mr.

Finn’s client’s family out of the secured area.

    On March 10, 2022, Mr. Finn failed to appear before Chief Judge Lynn for his client’s sentencing

hearing. He also subsequently failed to appear on March 22nd for said hearing. On April 5th, at the third

setting of the hearing, Mr. Finn finally appears and issues an apology to Chief Judge Lynn.



    III.      INTERACTIONS WITH THE COURTS

    a. U.S. Magistrate Judge Rene Harris Tolliver

           On June 11, 2020, in the case styled United States of America v. John Merzer Price; Cause No.

3:19-CR-112-K-2, David Finn appeared for the defendant in a guilty plea rearraignment hearing via video

conference, as a result of the COVID-19 pandemic restrictions imposed at the time. Prior to going on the

record, the recording captured “off the record” conversations between Magistrate Judge Tolliver, the

courtroom deputy clerk, the defendant, Mr. Finn and counsel for the Government. These conversations

were transcribed, as was the formal hearing. Attached hereto as Exhibit A is a true and correct copy of the

pre-hearing conversations and selected portions of the transcripts of the formal hearing. During the “off

the record” conversations Mr. Finn claimed that there was a confrontation at or near his home with

ANTIFA rioters that resulted in his broken shoulder. Later, during the formal hearing he began to

interrupt the colloquy between Magistrate Judge Tolliver and the defendant. After being admonished to

“watch yourself” by Magistrate Judge Tolliver, Mr. Finn then directs this identical comment to the court

and then immediately claims that he “…got you reversed at the Fifth Circuit.” Exhibit A, Transcript, p.

19. He then admonished Judge Tolliver to not interfere with him talking with his client. He later

proceeded to tell her that he is not to “get bullied” by her. Exhibit A, Transcript, pp.20-21. Throughout

this exchange, Judge Tolliver sought to determine whether Mr. Finn was “on drugs.” He responded that

he was taking Advil due to his pained shoulder. As is evident from the record, the Court sought to



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request from Mr. Finn to delay the proceedings due to his actions and the alleged pain he claimed he was

under. However, it is clear that Mr. Finn wanted to proceed with said hearing.

        Counsel interviewed Magistrate Judge Tolliver in her chambers where she recounted the story of

the appearance and actions of Mr. Finn. She opined that it appeared Mr. Finn was under the influence of

alcohol or some drug. She stated that she felt totally disrespected by Mr. Finn, and also thought that he

was attempting to humiliate her. As of this writing, she has yet to receive an apology from Mr. Finn.

    b. U.S. Magistrate Judge Irma Ramirez

    Counsel interviewed Magistrate Judge Ramirez by telephone regarding her interactions with Mr.

Finn. She recalls two dates specifically when there were issues with Mr. Finn—September 23rd and 24th,

2021. Magistrate Judge Ramirez plea docket was on Thursday, September 23rd, and she recalls Mr. Finn

being somewhat disruptive while in court that morning. She recalls him making inappropriate comments

about her hair, and her being a candidate for appointment as the new U.S. Attorney for the Northern

District. During his client’s guilty plea colloquy she recalls Mr. Finn speaking about him (Finn) being less

than professional with the prosecutor and wanting to apologize. She also recalls that it was apparent that

his client had not seen the indictment prior to his plea. Magistrate Judge Ramirez recalls Mr. Finn’s

appearance as well. She states that his face was puffy and his arm was in a sling. She stated that she

wanted to get him out of her courtroom as soon as she could due to his inappropriate behavior. She also

stated that on the following day (September 24th), Mr. Finn complained that the Courtroom Security

Officers (“CSO”) mistreated him.

    Magistrate Judge Ramirez provided counsel with the names and contact information of the CSO’s

who had negative interactions with Mr. Finn.

    c. U.S. District Judge Ada Brown

    On February 25, 2021, in a case styled United States v. Tremont Blakemore, Cause No. 3-19-CR-531,

Judge Brown convened an informal videoconference to speak to defense counsel, David Finn and

government prosecutors, Nicole Dana and Melanie Smith, regarding a trial setting for the case. Due to its

informality, no court reporter attended this videoconference. Counsel interviewed Judge Brown to discuss

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her recall of the events that transpired during this conference. She recalls that Mr. Finn was clearly

intoxicated. She proceeds to ask him if he is under the influence. She states that Mr. Finn responded,

“That’s bullshit.” Mr. Finn then proceeds to state that Judge Brown is “not qualified” to preside over this

matter due to her lack of criminal defense experience. He then transitions to wanting to tell a joke. Judge

Brown sought to prevent him from doing so. However, he insists and begins his “joke” by stating that his

daughter attends and runs track at Hockaday School in Dallas. He recalls that at a track meet where she

was competing, he sat next to Emmitt Smith, the former Dallas Cowboy. He proceeds on with the story

that his white daughter “dusted” the black girls and Emmitt Smith commented to him: “Hoo Whee, that

white girl runs as fast as the darkies!” Mr. Finn bursts out in laughter after stating this while everyone else

attending the conference remained silent. Judge Brown recalls trying to provide him an escape route on

this by stating to him that it must have been awkward for him to hear this inappropriate statement.

However, she states that in reply Mr. Finn said: “I thought it was hilarious.” Counsel spoke by telephone

with federal prosecutor, Nicole Dana, who confirmed Mr. Finn’s use of a swear word and the additional

comments and “joke” by Mr. Finn. Ms. Dana stated that Mr. Finn’s comments were inappropriate and left

everyone feeling awkward. Judge Brown, who is African American, stated that she was offended by Mr.

Finn’s offensive and disrespectful comments, and his racially charged “joke.”

    d. Chief U.S. District Judge Barbara Lynn

    Counsel met with Chief Judge Barbara Lynn in her chambers to discuss her interactions with David

Finn. Chief Judge Lynn proceeded to inform counsel of her Order of Suspension entered on March 25,

2022, suspending Mr. Finn from practicing before courts in the Northern District due to his

nonappearance on two occasions for a sentencing hearing in her court during the month of March, 2022.

She subsequently provided counsel with an e-mail memo from Kate Marcom of her staff detailing her

conversations with Mr. Finn on the morning of March 10, 2022, after he failed to appear. See Exhibit B

attached hereto. Said memo reflected Mr. Finn’s position on the sentencing proceeding by him stating to

Ms. Marcom “…it’s no big deal, it’s only sentencing…” Exhibit B, infra. Mr. Finn then fails to appear for

the subsequent new date of March 25, 2022, for his client’s sentencing. Chief Judge Lynn provided

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counsel copies of the transcripts of proceedings in this case held on August 27, 2021, (a status

conference) and sentencing hearing transcripts of March 10th and 25th, 2022, and April 5, 2022. See

Exhibits C, D, E and F attached hereto. Exhibit C, the transcript of the status conference, reveals that Mr.

Finn represents to the Court that his reasoning for failure to meet the court’s deadlines was due to a

“home invasion,” and “broke my shoulder, got COVID about six months ago.” His first two reasons

regarding the alleged “home invasion” and “broke my shoulder” sounds identical to what he represented

to Magistrate Judge Tolliver over a year prior to this status hearing. 2 His further comments at said hearing

reflect him referring to his client as a “nervous nelly” and a thoughtful “crook.” He finally refers to Chief

Judge Lynn as a “tough nut.”

    e. District Judge Karen Scholer

    Judge Scholer was interviewed by counsel telephonically regarding her observations of and

interactions with Mr. Finn. She did recall one small troubling incident that occurred in late 2020 or early

2021 during a videoconference sentencing hearing. She observed Mr. Finn wearing a baseball cap on

backwards and with no tie. Judge Scholer instructed her coordinator to talk to Mr. Finn to dispense with

his cap and put on a jacket and tie. After some brief pushback by Mr. Finn, he finally complied. After

being noticed of his issues before other judges. Judge Scholer approved his participation in a reverse

proffer session with government prosecutors provided he is accompanied by attorney, Robert Webster, an

experienced criminal practitioner. She understood that Judge David Godbey had also taken similar steps

in requiring the presence of Robert Webster with Mr. Finn for a similar session.

    f.   District Judge Ed Kinkeade

    Counsel interviewed Judge Kinkeade by phone who recounted his relationship with Mr. Finn. Judge

Kinkeade recognized that Mr. Finn’s conduct before Magistrate Judge Harris in 2020 was a tipping point.

However, he relates that he has had no issues with Mr. Finn. He describes how Mr. Finn has taken

ownership of his issues. Judge Kinkeade describes those issues being alcoholism, abuse and family


2
 Mr. Finn’s statements of ANTIFA at his home and breaking his shoulder to Magistrate Judge Tolliver occurred on
June 11, 2020. The status conference before Chief Judge Lynn occurred on August 27, 2021.

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trauma. Judge Kinkeade stated that he is helping Mr. Finn in his spiritual journey. He also describes Mr.

Finn as an active member of his Sunday School class.

    g. U.S. Magistrate Judge David Horan

    Counsel interviewed Magistrate Judge Horan by phone. He indicated that he has had no issues at all

with Mr. Finn and adds that he has acted appropriately in his court.



    IV.     INTERACTIONS WITH OTHER COURT OFFICIALS

    a. CSO Cynthia Dunn

    Counsel interviewed CSO Cynthia Dunn on May 11, 2022, to discuss her interactions with David

Finn. CSO Dunn has been in her position for over 4 ½ years. She was formerly a state trooper in the State

of Maryland for 21 years. She vividly recalls Mr. Finn in the fall of 2021 on the 13th Floor as she worked

the magnetometer screening for security. She reports that after Mr. Finn came through security screening

he proceeds to massage her shoulders as she sat in her chair. He later grabbed her knee. She told him not

to touch her again. When he tried to do it again, she threatened to hit him with her radio. CSO Dunn tells

that she wrote a report of this incident and that I should request a copy. She also said that video of the

incident may also be available. Counsel subsequently requested and received her report. Counsel also

received the report of CSO Jeff Potter, who witnessed Mr. Finn’s actions and was also the recipient of

unwanted touching by Finn. See Exhibit G and H attached hereto. CSO Dunn also recalled how Mr. Finn

pretended to swat the backside of a female probation officer as she passed by him.

    b. CSO Donald Ray

    CSO Ray was interviewed by counsel. CSO Ray has been in his position since 2017 having

previously been in a similar position for 1 ½ years in East St. Louis. He is a 26 year veteran of the St.

Clair County Sheriff's Office. CSO Ray recalls his confrontation with Mr. Finn to have occurred in 2021

during the pandemic when he was on courtroom duty on the 13th floor. He recalls Mr. Finn getting off the

elevator with some family members of his client. CSO Ray had previously been instructed by Courtroom

Deputy Marie Gonzales of Magistrate Judge Ramirez’s court that family members could not enter the

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courtroom due to the pandemic. However, the family could proceed to the 14th floor to watch the court

proceedings on a video feed. When CSO Ray informed Mr. Finn of this, he began to yell: “Do you know

who I am? I am a former AUSA and Judge.” He also stated: “They are my witnesses and they can come

in.” CSO Ray said he told him no witnesses are allowed in the courtroom per the judge. As he continued

to resist the instructions, CSO Ray told him to leave the floor. Mr. Finn walked around for a while and

then confronted CSO Ray and said: “I’m Irish, a boxer, and do I look afraid of you.” CSO Ray responded

by telling him to, “get out of his face.” Mr. Finn backs off. CSO Ray states that he reported this to the

courtroom deputy. He also states that he could smell alcohol on Mr. Finn’s breath during their

confrontation, and that his eyes were bloodshot and his face flushed. CSO Ray wrote an incident report

that was received by counsel. See Exhibit I attached hereto.

     It is to be noted that counsel obtained a copy of the security video of the two incidents described

above by the CSOs. The videos corroborate the actions on the part of Mr. Finn on both occasions in the

unwanted touching of CSOs Dunn and Potter, the pretend swat of the backside of a female probation

officer, and the confrontation with CSO Ray.



     V.       INTERVIEW OF DAVID FINN

          Counsel met with Mr. Finn along with his attorney, Bret Stalcup, at Mr. Stalcup’s office. After

counsel reviewed the various incidents outlined above, Mr. Finn admitted to his actions. 3 Mr. Finn and his

counsel provided evidence of Mr. Finn’s history of alcoholism, as well as mother’s abuse of him. This

was proffered as the reason underlying his admitted misconduct outlined above. Mr. Finn has been treated

at the following treatment facilities:

              •   La Hacienda Treatment Center (2017);

              •   Enterhealth Treatment Center (2019);



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 Mr. Finn did take issue with his alleged joke told to Judge Brown. Mr. Finn recalls that Emmitt Smith, after the
race between their two daughters and others, stated to Mr. Finn that he, “must have some mahogany in the
woodpile.” He denied using the term “darkies.” However, he admitted that the joke was inappropriate.

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               •   Presbyterian Hospital’s The Haven (March 2022) 4;

               •   Never Too Late Counseling (April 2022); and

               •   Arise Recovery Centers Program (June 2022) See Exhibit J attached hereto.

     Mr. Finn continues to receive treatment at Never Too Late Counseling and Arise Recovery Center.

Mr. Finn and Mr. Stalcup report that his Eye Movement Desensitization and Reprocessing (EMDR),

therapy and his Intensive Outpatient Program (IOP) are both working well to heal him of his disease and

trauma. Mr. Finn reports that he receives individual treatment multiple times a week. Mr. Finn also stated

that he seeks healing primarily for himself, and not to please or pacify the court, or any other person. He

states that this is a life or death struggle.

     VI.       CONCLUSIONS

     “A lawyer should demonstrate respect for the legal system and for those who serve it, including
     judges, other lawyers and public officials.” Texas Disciplinary Rules of Professional Conduct;
     Preamble: A Lawyer’s Responsibilities, Para. 4.

     a. Conduct Unbecoming a Member of the Bar

           The actions committed by David Finn in this matter support a finding of professional misconduct.

The violations were intentional and objectively unreasonable considering all of the circumstances. Mr.

Finn’s inappropriate and unwarranted comments to Magistrate Judge Tolliver by threatening her to

“watch herself,” accusing her of bullying him, and comments of having her reversed on appeal is a clear,

unambiguous violation of a professional standard imposed on all counsel. The standard of conduct and

obligation of each attorney is to afford respect and decorum to all judicial officers. Likewise, his conduct

displayed in his interactions and statements to the CSOs, and the brief interaction with an unknowing

female probation officer lacks the respect they are accorded as well from a member of the bar.

     b. Failure to Comply with a Rule or Order of the Court

           It is quite evident that Mr. Finn’s absence during two separate sentencing hearings scheduled for

his client reflects his failure to comply with the Court’s instructions in this regard. His cavalier statement


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 Mr. Finn states that his reason for his absence at the sentencing hearing before Chief Judge Lynn held on March
22, 2022 was due to his in-patient admission and treatment at The Haven.

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to Chief Judge Lynn’s court official, Kate Marcom, that “it’s no big deal; it’s only a sentencing” reflects

his attempt to trivialize the judicial proceeding.

    c. Unethical Behavior

        The egregious words spoken by Mr. Finn to Judge Ada Brown coupled with the racially charged

“joke” he offered up is certainly unethical and abhorrent. He intentionally sought to make Judge Brown

and opposing counsel uncomfortable by his statements impugning her abilities, and the alleged “joke.”

Mr. Finn’s comments to Magistrate Judge Tolliver also fall into the category of unethical conduct with his

allegation that he had her reversed on appeal at the Fifth Circuit. Mr. Finn’s comments to Chief Judge

Lynn accusing his client , on the record, of being a thoughtful “crook” is unethical. For him to demean

his client before the presiding judge and prosecutor is harmful and insulting to his client.

    d. Inability to Conduct Litigation Properly

        The culmination of Mr. Finn’s statements and actions before the respective judges, as outlined

above, provides clear and convincing evidence that he not only committed misconduct, but that he also

demonstrates his present inability to conduct litigation properly.

    e. David Finn’s Admissions

    As stated above, Mr. Finn, in the presence of his counsel, admitted his transgressions before the

respective court officials. He stated that he aspires to continue his federal practice in the Northern District

of Texas, understanding that he has to demonstrate his capability of continuing to do so as a result of his

steadfast adherence to his treatment protocols. His counsel intends to offer a plan to ensure his strict

compliance with same so that Mr. Finn can continue his livelihood.

                                                     Respectfully submitted,

                                                     /s/Michael P. Heiskell
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                                  CERTIFICATE OF SERVICE

        I hereby certify that on June 14 2022, the foregoing document was submitted via e-mail to Judge
Godbey, judge_godbey@txnd.uscourts.gov and to David Finn’s counsel, Bret Stalcup,
bstalcup@stalcuplaw.com.
                                                  /s/Michael P. Heiskell
                                                  Michael P. Heiskell




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